AFFIRMATION OF DUE DILIGENCE - ATTEMPTS TO LOCATE AND/OR SERVE

UNITED STATES DISTRICT COURT OF THE EASTERN DISTRICT OF NEWYORK civil Action Number: 24 CV 4186

Date Filed:

ATTORNEY(S) ELEFANTE & PERSANIS, ESQ. PH: (914) 961-4400 Court/Return Date:

147 HILLSIDE PLACE EASTCHESTER, NY 10709 |

NURO FERATOVIC

Plaintiff
VS

NEPTUNE MAINTENANCE CORP, a New York Corporation, 1350 E 18th LLC, a New York Corporation, ALBERT SROUR and
KHALIL ISMAEL

Defendant

Pedro J. Rodriguez, , affirms and says: that deponent is not a party to this action, is over

the age of eighteen (18) years and resides in the State of New York ; deponent attempted to serve the within
Amended Complaint

Upon 1350 F 18th LLC

the defendant / respondent therein named, and that after due search, careful inquiry and diligent attempts
at: 495 Empire Blvd, Brooklyn, NY 11225

deponent was unable to effect process upon the person being served because of the following reason(s):

2/24/2025 1:59 PM _ {spoke with Shaina "Doe" a worker at Laces and Needles the business at the location. who stated that Neptune
Maintenance Corp, 1350 E. 18th LLC, Albert Srour and Khalil Ismael are unknown, do not work here or live in the apartment above the
store,

| affirrn on 2/26/2025 under the penalties of
perjury under the laws of New York, which may [my] .

include a fine or imprisonment, that the foregoing Process Server

is true, and | understand that this document may * Pedro J. Rodriguez
be filed in an action or proceeding in a court of fal Lic# 2024701
law. Client's File No.: Job #: 2011629

STATES PROCESS SERVING COMPANY, 13 TAYLOR AVENUE, CORTLANDT Manor, NY 10567
UNITED STATES DISTRICT COURT OF THE EASTERN DISTRICT OF NEW YORK Civil Action Number: 24 CV 4186

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NURO FERATOVIC
Plaintiff
vs
NEPTUNE MAINTENANCE CORP. a New York Corporation, 1350 E 18th LLC, a New York Corporation, ALBERT SROUR and KHALIL ISMAEL

so ls nina ganna ne seein te wih mn co sn instnn sons en dant
Pedro J. Rodriguez, affirms and says: AFFIRMATION OF SERVICE

Deponent is not a party herein is over the age of 18 years and resides in the State of New York.
On February 28, 2025, at 12:09 PM at 495 Flatbush Ave, Suite B60, Brooklyn, NY 11225, Deponent served the within Amended Complaint

On: 1350 E 18th LLC, therein named, ( hereinafter referred to as "subject").

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#1 ENTITY/CORPORATIONI/LLC/LLP
™ By delivering to and leaving with Alex Srour said individual to be Office Assistant who specifically stated he/she was authorized to

accept service on behaif of the Corporation/Government Agency/Entity.

Cl #2 MAILING
On , service was completed by mailing a true copy of the above stated document(s) to 1350 E 18th LLC at the above stated

address in a First Class postpaid properly addressed envelope marked "Personal and Confidential" in an official depository under
the exclusive care and custody of the United States Post Office in the State of New York.

#3 DESCRIPTION
Sex: Male Color of skin: White Color of hair: Salt& Pepper Age: 45 - 55 Yrs.
Height: 5ft Qin - 6ft Oin Weight: Over 200 Lbs. Other Features:

(Cl44 WITNESS FEES
The authorized witness fee and / or traveling expenses were paid (tendered) to the recipient in the amount of $

C] #5 MILITARY SERVICE
Deponent asked person spoken to whether the person to be served is currently active in the military service of the United States or of

the State of New York, and was informed that said person is not.

C1 #6 OTHER

The index number and the filing date of the action were endorsed upon the face of the papers so served herein.

i affirm on 3/1/2025 under the penalties of perjury under the laws of New York, which may include a fine
or imprisonment, that the foregoing is true, and | understand that this document may be filed in an

action or proceeding in a court of law. i

El Process Server, Please Sign
_ Pedro J, Rodriguez
[al Lic# 2024701

Client’s File No.: Job #: 2011629

STATES PROCESS SERVING COMPANY, 13 TAYLOR AVENUE, CORTLANDT Manor, NY 10567
